373 F.2d 335
    Robert A. KETCHUM, Appellant,v.UNITED STATES of America, Appellee.
    No. 23745.
    United States Court of Appeals Fifth Circuit.
    March 2, 1967.
    
      Appeal from the United States District Court for the Western District of Texas; Dorwin W. Suttle, Judge.
      Robert A. Ketchum, pro se.
      Reese L. Harrison, Jr., Asst. U. S. Atty., San Antonio, Tex., Ernest Morgan, U. S. Atty., Western District of Texas, Andrew L. Jefferson, Jr., Asst. U. S. Atty., Western District of Texas, San Antonio, Tex., for appellee.
      Before TUTTLE, Chief Judge, WISDOM, Circuit Judge, and BREWSTER, District Judge.
      PER CURIAM:
    
    The judgment is
    
      1
      Affirmed.
    
    